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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
                             CRIMINAL MINUTES - ARRAIGNMENT
Case Number: 2:21-CR-00579                  Recorder: CS 02/15/2022                      Date: 02/15/2022

Present: The Honorable Steve Kim, U.S. Magistrate Judge

Court Clerk: Connie Chung                                Assistant U.S. Attorney: Jena McCabe by VTC

 United States of America v.      Attorney Present for Defendant(s)       Language              Interpreter
 MATTHEW FUNKE                    NATHAN HOCHMAN
     BOND-PRESENT BY                  RETAINED BY VTC
 vtc


PROCEEDINGS: ARRAIGNMENT OF DEFENDANT(S) AND ASSIGNMENT OF CASE .

Deft is arraigned and states true name is the name on the charging document.




Defendant is given a copy of the Information and acknowledges having been read or having received a copy of
the Information and waives the reading thereof.
Waiver of Indictment submitted, accepted by the Court and filed.

This case is assigned to the calendar of District Judge Dolly M. Gee.
It is ordered that the following date(s) and time(s) are set:
Guilty Plea and Setting of all other proceedings 2/23/2022 at 2:00 PM
Defendant and counsel are ordered to appear before said judge at the time and date indicated.


If there is a plea agreement in the case, a courtesy copy of the plea agreement shall be delivered to the Clerk's
Office Window on the 4th floor @ 350 West 1st Street, Attention: Kane G. Tien, Clerk to Judge Gee, within two
days of the PIA hearing.




                                                               First Appearance/Appointment of Counsel: 00 : 00
                                                                                                     PIA: 00 : 02
                                                                            Initials of Deputy Clerk: CC by TRB




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